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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.

 ILYA LICHTENSTEIN, et. al.,                              CRIMINAL NO. 23-cr-239 (CKK)

        Defendants,

        and

 JOHN DOE
      Petitioner and Third-Party Claimant.


                       MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to LCvR 83.2(c)(2), I, David Bitkower, hereby move this Court for an

Order for admission to practice pro hac vice on behalf of Lawrence McMahon to appear

as co-counsel for the Petitioner, John Doe, in the above-captioned case. I, David Bitkower,

a member in good standing of the Bar of this Court, sign this Motion as the sponsor for

the admission pro hac vice of Lawrence McMahon.

       Lawrence McMahon is a member in good standing with the Bar of the State of Illinois,

and a Certificate of Good Standing from that court as well as a Declaration for Admission

Pro Hac Vice, are attached hereto.
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Dated: March 21, 2025                    Respectfully submitted,

                                         COUNSEL FOR PETITIONER




                                         By: /s/ David Bitkower_____
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                                         /s/ Lawrence W. McMahon________
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